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 Fill in this information to identify your case:
 United States Bankruptcy Court for the:
 SOUTHERN DISTRICT OF TEXAS

 Case number (if known):                                      Chapter you are filing under:
                                                                        Chapter 7
                                                                        Chapter 11
                                                                        Chapter 12
                                                                                                                           Check if this is an
                                                                        Chapter 13
                                                                                                                           amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                         12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case
together--called a joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if
a form asks, "Do you own a car," the answer would be yes if either debtor owns a car. When information is needed about the
spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the spouses
must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.



 Part 1:       Identify Yourself
                                       About Debtor 1:                                        About Debtor 2 (Spouse Only in a Joint Case):
1.   Your full name
     Write the name that is on your
                                       Ricky
     government-issued picture
                                       First Name                                             First Name
     identification (for example,
     your driver's license or          Ford
     passport).                        Middle Name                                            Middle Name

                                       Friery
     Bring your picture                Last Name                                              Last Name
     identification to your meeting
     with the trustee.                 Suffix (Sr., Jr., II, III)                             Suffix (Sr., Jr., II, III)


2.   All other names you               Ricky
     have used in the last 8           First Name                                             First Name
     years
                                       Middle Name                                            Middle Name
     Include your married or
                                       Friery, Sr.
     maiden names.
                                       Last Name                                              Last Name


3.   Only the last 4 digits of
     your Social Security              xxx – xx –                   1        8       2    7   xxx – xx –
     number or federal                 OR                                                     OR
     Individual Taxpayer
     Identification number             9xx – xx –                                             9xx – xx –
     (ITIN)




Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                            page 1
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Debtor 1     Ricky Ford Friery                                                             Case number (if known)

                                  About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names                   I have not used any business names or EINs.                 I have not used any business names or EINs.
     and Employer
     Identification Numbers
     (EIN) you have used in       Business name                                                Business name
     the last 8 years
                                  Business name                                                Business name
     Include trade names and
     doing business as names
                                  Business name                                                Business name

                                               –                                                           –
                                  EIN                                                          EIN

                                               –                                                           –
                                  EIN                                                          EIN
5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                  2407 Intrepid Way
                                  Number       Street                                          Number      Street




                                  League City                     TX       77573
                                  City                            State    ZIP Code            City                           State    ZIP Code

                                  Galveston
                                  County                                                       County

                                  If your mailing address is different from                    If Debtor 2's mailing address is different
                                  the one above, fill it in here. Note that the                from yours, fill it in here. Note that the court
                                  court will send any notices to you at this                   will send any notices to you at this mailing
                                  mailing address.                                             address.



                                  Number       Street                                          Number      Street


                                  P.O. Box                                                     P.O. Box


                                  City                            State    ZIP Code            City                           State    ZIP Code


6.   Why you are choosing         Check one:                                                   Check one:
     this district to file for
     bankruptcy                           Over the last 180 days before filing this                   Over the last 180 days before filing this
                                          petition, I have lived in this district longer              petition, I have lived in this district longer
                                          than in any other district.                                 than in any other district.

                                          I have another reason. Explain.                             I have another reason. Explain.
                                          (See 28 U.S.C. § 1408.)                                     (See 28 U.S.C. § 1408.)


 Part 2:       Tell the Court About Your Bankruptcy Case

7.   The chapter of the          Check one: (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
     Bankruptcy Code you         for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     are choosing to file
     under                               Chapter 7

                                         Chapter 11

                                         Chapter 12

                                         Chapter 13



Official Form 101                        Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 2
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Debtor 1     Ricky Ford Friery                                                      Case number (if known)

8.   How you will pay the fee         I will pay the entire fee when I file my petition. Please check with the clerk's office in your local
                                      court for more details about how you may pay. Typically, if you are paying the fee yourself, you may
                                      pay with cash, cashier's check, or money order. If your attorney is submitting your payment on your
                                      behalf, your attorney may pay with a credit card or check with a pre-printed address.

                                      I need to pay the fee in installments. If you choose this option, sign and attach the Application for
                                      Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                      I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                      By law, a judge may, but is not required to, waive your fee, and may do so only if your income is less
                                      than 150% of the official poverty line that applies to your family size and you are unable to pay the
                                      fee in installments). If you choose this option, you must fill out the Application to Have the Chapter 7
                                      Filing Fee Waived (Official Form 103B) and file it with your petition.


9.   Have you filed for               No
     bankruptcy within the
     last 8 years?                    Yes.

                                 District                                               When                    Case number
                                                                                               MM / DD / YYYY
                                 District                                               When                    Case number
                                                                                               MM / DD / YYYY

                                 District                                               When                    Case number
                                                                                               MM / DD / YYYY

10. Are any bankruptcy                No
    cases pending or being
    filed by a spouse who is          Yes.
    not filing this case with
                                 Debtor Bendco, Inc.                                                Relationship to you Business
    you, or by a business
    partner, or by an            District Southern District of Texas                    When 02/28/2018         Case number, 18-30849
    affiliate?                                                                                 MM / DD / YYYY   if known


                                 Debtor                                                             Relationship to you

                                 District                                               When                    Case number,
                                                                                               MM / DD / YYYY   if known

11. Do you rent your                  No.    Go to line 12.
    residence?                        Yes. Has your landlord obtained an eviction judgment against you?

                                                  No. Go to line 12.
                                                  Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A)
                                                  and file it as part of this bankruptcy petition.




Official Form 101                      Voluntary Petition for Individuals Filing for Bankruptcy                                          page 3
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Debtor 1     Ricky Ford Friery                                                         Case number (if known)


 Part 3:      Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor             No. Go to Part 4.
    of any full- or part-time             Yes. Name and location of business
    business?

    A sole proprietorship is a
                                                Name of business, if any
    business you operate as an
    individual, and is not a
    separate legal entity such as               Number     Street
    a corporation, partnership, or
    LLC.

    If you have more than one                   City                                                    State          ZIP Code
    sole proprietorship, use a
    separate sheet and attach it                Check the appropriate box to describe your business:
    to this petition.
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under             If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
    Chapter 11 of the                can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
    Bankruptcy Code and              most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return
    are you a small business         or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor?
                                          No.   I am not filing under Chapter 11.

                                          No.   I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    For a definition of small
                                                the Bankruptcy Code.
    business debtor, see
    11 U.S.C. § 101(51D).                 Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                               Bankruptcy Code.


 Part 4:      Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any                No
    property that poses or is             Yes. What is the hazard?
    alleged to pose a threat of
    imminent and identifiable
    hazard to public health or
    safety? Or do you own
    any property that needs                     If immediate attention is needed, why is it needed?
    immediate attention?

    For example, do you own
    perishable goods, or
    livestock that must be fed, or              Where is the property?
    a building that needs urgent                                           Number   Street
    repairs?



                                                                           City                                     State         ZIP Code




Official Form 101                          Voluntary Petition for Individuals Filing for Bankruptcy                                          page 4
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Debtor 1     Ricky Ford Friery                                                           Case number (if known)


 Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling
15. Tell the court          About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
    whether you             You must check one:                                          You must check one:
    have received a           I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about            counseling agency within the 180 days before I               counseling agency within the 180 days before I
    credit                    filed this bankruptcy petition, and I received a             filed this bankruptcy petition, and I received a
    counseling.               certificate of completion.                                   certificate of completion.
                               Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
    The law requires           plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
    that you receive a
                               I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about credit
                               counseling agency within the 180 days before I               counseling agency within the 180 days before I
    counseling before
                               filed this bankruptcy petition, but I do not have            filed this bankruptcy petition, but I do not have
    you file for
                               a certificate of completion.                                 a certificate of completion.
    bankruptcy. You
    must truthfully            Within 14 days after you file this bankruptcy petition,      Within 14 days after you file this bankruptcy petition,
    check one of the           you MUST file a copy of the certificate and payment          you MUST file a copy of the certificate and payment
    following choices.         plan, if any.                                                plan, if any.
    If you cannot do so,       I certify that I asked for credit counseling                 I certify that I asked for credit counseling
    you are not eligible       services from an approved agency, but was                    services from an approved agency, but was
    to file.                   unable to obtain those services during the 7                 unable to obtain those services during the 7
                               days after I made my request, and exigent                    days after I made my request, and exigent
    If you file anyway,        circumstances merit a 30-day temporary                       circumstances merit a 30-day temporary
    the court can              waiver of the requirement.                                   waiver of the requirement.
    dismiss your case,
    you will lose              To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
    whatever filing fee        requirement, attach a separate sheet explaining what         requirement, attach a separate sheet explaining what
    you paid, and your         efforts you made to obtain the briefing, why you             efforts you made to obtain the briefing, why you
    creditors can begin        were unable to obtain it before you filed for                were unable to obtain it before you filed for
    collection activities      bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
    again.                     required you to file this case.                              required you to file this case.

                               Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                               dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                               briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.

                               If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                               still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                               You must file a certificate from the approved agency,        You must file a certificate from the approved agency,
                               along with a copy of the payment plan you                    along with a copy of the payment plan you
                               developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                               may be dismissed.                                            may be dismissed.

                               Any extension of the 30-day deadline is granted only         Any extension of the 30-day deadline is granted only
                               for cause and is limited to a maximum of 15 days.            for cause and is limited to a maximum of 15 days.

                               I am not required to receive a briefing about                I am not required to receive a briefing about
                               credit counseling because of:                                credit counseling because of:
                                   Incapacity.    I have a mental illness or a mental           Incapacity.    I have a mental illness or a mental
                                                  deficiency that makes me                                     deficiency that makes me
                                                  incapable of realizing or making                             incapable of realizing or making
                                                  rational decisions about finances.                           rational decisions about finances.
                                   Disability.    My physical disability causes me              Disability.    My physical disability causes me
                                                  to be unable to participate in a                             to be unable to participate in a
                                                  briefing in person, by phone, or                             briefing in person, by phone, or
                                                  through the internet, even after I                           through the internet, even after I
                                                  reasonably tried to do so.                                   reasonably tried to do so.
                                   Active duty. I am currently on active military               Active duty. I am currently on active military
                                                duty in a military combat zone.                              duty in a military combat zone.
                               If you believe you are not required to receive a             If you believe you are not required to receive a
                               briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                               motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.


Official Form 101                           Voluntary Petition for Individuals Filing for Bankruptcy                                          page 5
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Debtor 1     Ricky Ford Friery                                                         Case number (if known)


 Part 6:      Answer These Questions for Reporting Purposes
16. What kind of debts do you      16a.    Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
    have?                                  as "incurred by an individual primarily for a personal, family, or household purpose."
                                                 No. Go to line 16b.
                                                 Yes. Go to line 17.

                                   16b.    Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                                No. Go to line 16c.
                                                Yes. Go to line 17.

                                   16c.    State the type of debts you owe that are not consumer or business debts.


17. Are you filing under
    Chapter 7?                            No.   I am not filing under Chapter 7. Go to line 18.

    Do you estimate that after            Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                     administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and
    administrative expenses                          No
    are paid that funds will be
                                                     Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do                 1-49                             1,000-5,000                        25,001-50,000
    you estimate that you                 50-99                            5,001-10,000                       50,001-100,000
    owe?                                  100-199                          10,001-25,000                      More than 100,000
                                          200-999

19. How much do you                       $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
    estimate your assets to               $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
    be worth?                             $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                          $500,001-$1 million              $100,000,001-$500 million          More than $50 billion

20. How much do you                       $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
    estimate your liabilities to          $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
    be?                                   $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                          $500,001-$1 million              $100,000,001-$500 million          More than $50 billion




Official Form 101                         Voluntary Petition for Individuals Filing for Bankruptcy                                        page 6
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Debtor 1     Ricky Ford Friery                                                        Case number (if known)


 Part 7:      Sign Below
For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true
                                 and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12,
                                 or 13 of title 11, United States Code. I understand the relief available under each chapter, and I choose to
                                 proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me
                                 fill out this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in
                                 connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
                                 or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                 X /s/ Ricky Ford Friery                                     X
                                    Ricky Ford Friery, Debtor 1                                  Signature of Debtor 2

                                    Executed on 06/28/2018                                       Executed on
                                                MM / DD / YYYY                                                 MM / DD / YYYY




Official Form 101                      Voluntary Petition for Individuals Filing for Bankruptcy                                             page 7
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Debtor 1     Ricky Ford Friery                                                       Case number (if known)

For your attorney, if you are    I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about
represented by one               eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the
                                 relief available under each chapter for which the person is eligible. I also certify that I have delivered to
If you are not represented by    the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies,
an attorney, you do not need     certify that I have no knowledge after an inquiry that the information in the schedules filed with the petition
to file this page.               is incorrect.



                                 X /s/ Richard Lee Fuqua II                                            Date 06/28/2018
                                    Signature of Attorney for Debtor                                        MM / DD / YYYY


                                    Richard Lee Fuqua II
                                    Printed name
                                    Fuqua & Associates, P.C.
                                    Firm Name
                                    5005 Riverway, Suite 250
                                    Number          Street




                                    Houston                                                    TX              77056
                                    City                                                       State           ZIP Code


                                    Contact phone (713) 960-0277                     Email address


                                    07552300                                                   TX
                                    Bar number                                                 State




Official Form 101                      Voluntary Petition for Individuals Filing for Bankruptcy                                            page 8
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  Fill in this information to identify your case and this filing:
  Debtor 1               Ricky                       Ford                 Friery
                         First Name                  Middle Name          Last Name

  Debtor 2
  (Spouse, if filing) First Name                     Middle Name          Last Name


  United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

  Case number
                                                                                                                                    Check if this is an
  (if known)
                                                                                                                                    amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                       12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:          Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
            No. Go to Part 2.
            Yes. Where is the property?

1.1.                                                        What is the property?                            Do not deduct secured claims or exemptions. Put the
2407 Intrepid Way                                           Check all that apply.                            amount of any secured claims on Schedule D:
Street address, if available, or other description             Single-family home                            Creditors Who Have Claims Secured by Property.
                                                               Duplex or multi-unit building                 Current value of the            Current value of the
                                                               Condominium or cooperative                    entire property?                portion you own?
League City                      TX       77573                Manufactured or mobile home                               $325,000.00                  $325,000.00
City                             State    ZIP Code             Land
                                                               Investment property                           Describe the nature of your ownership
                                                               Timeshare                                     interest (such as fee simple, tenancy by the
Galveston                                                                                                    entireties, or a life estate), if known.
                                                               Other
County
                                                                                                             Fee Simple
                                                            Who has an interest in the property?
ABST 18 PAGE 2 LOT 7
                                                            Check one.
LEEWARD LANDING SEC 1
                                                               Debtor 1 only                                      Check if this is community property
                                                               Debtor 2 only                                      (see instructions)
                                                               Debtor 1 and Debtor 2 only
                                                               At least one of the debtors and another

                                                            Other information you wish to add about this item, such as local
                                                            property identification number:

2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any
       entries for pages you have attached for Part 1. Write that number here.............................................................            $325,000.00


  Part 2:          Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.     Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           No
           Yes




Official Form 106A/B                                                   Schedule A/B: Property                                                                page 1
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Debtor 1         Ricky Ford Friery                                                                   Case number (if known)


3.1.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                     GMC                          Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                    Yukon
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                     2017
                                                            Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Approximate mileage: 4,000                                  At least one of the debtors and another            $60,000.00                           $60,000.00
Other information:
2017 GMC Yukon                                              Check if this is community property
                                                            (see instructions)
3.2.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                     Ford                         Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                    F150
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                     2010
                                                            Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Approximate mileage: 110,000                                At least one of the debtors and another             $5,000.00                             $5,000.00
Other information:
2010 Ford F150                                              Check if this is community property
                                                            (see instructions)
4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
           No
           Yes

5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
     entries for pages you have attached for Part 2. Write that number here.............................................................            $65,000.00


 Part 3:          Describe Your Personal and Household Items
                                                                                                                                           Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured
                                                                                                                                           claims or exemptions.

6.   Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware
           No
           Yes. Describe............
                               Household goods & furnishings                                                                                          $2,550.00

7.   Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                music collections; electronic devices including cell phones, cameras, media players, games
           No
           Yes. Describe............
                               2 TV's $200                                                                                                              $320.00
                                Computer $100
                                Printer $20
8.   Collectibles of value
     Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
           No
           Yes. Describe............
                               Misc. pictures                                                                                                            $50.00

9.   Equipment for sports and hobbies
     Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
               canoes and kayaks; carpentry tools; musical instruments
           No
           Yes. Describe............
                               Treadmill $1500                                                                                                        $2,000.00
                                Tools $500



Official Form 106A/B                                                 Schedule A/B: Property                                                                page 2
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Debtor 1          Ricky Ford Friery                                                                                                     Case number (if known)

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
            No
            Yes. Describe............

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
            No
            Yes. Describe............
                                Men's clothing                                                                                                                                                                    $150.00

12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
            No
            Yes. Describe............
                                Wedding ring                                                                                                                                                                      $300.00

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
            No
            Yes. Describe............
                                2 Dogs                                                                                                                                                                            $450.00
                                          1 Cat
                                          1 Turtle
14. Any other personal and household items you did not already list, including any health aids you
    did not list
            No
            Yes. Give specific
            information......................

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here.......................................................................................................................                                          $5,820.00


  Part 4:            Describe Your Financial Assets
                                                                                                                                                                                             Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                             portion you own?
                                                                                                                                                                                             Do not deduct secured
                                                                                                                                                                                             claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition
            No
            Yes.....................................................................................................................................................................................................
                                                                                                                                                     Cash: ...........................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

            No
            Yes..............................                    Institution name:

             17.1.        Checking account:                      Chase #xxxx8455                                                                                                                                  $180.71
             17.2.        Checking account:                      Chase #xxxxx7786                                                                                                                                       $0.78
             17.3.        Checking account:                      Checking #xxxxx9883
                                                                 (Raquel Friery or Ricky Friery)                                                                                                                       $12.17
             17.4.        Checking account:                      Bank of America
                                                                 #xxxxxxx2734                                                                                                                                           $0.00



Official Form 106A/B                                                                         Schedule A/B: Property                                                                                                     page 3
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Debtor 1         Ricky Ford Friery                                                                  Case number (if known)

            17.5.       Checking account:                Texas Bay Area FCU
                                                         #xxxxx6205                                                                $159.53
            17.6.       Savings account:                 Bank of America
                                                         #xxxxxxxx6641                                                               $0.00
            17.7.       Savings account:                 Shell FCU
                                                         #xxx3642                                                                  ($50.34)
            17.8.       Savings account:                 Chase #xxxxxx8842                                                           $3.87
            17.9.       Savings account:                 USAA #xxxxxx0777                                                          $100.34
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
           No
           Yes.............................. Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture
           No
           Yes. Give specific
           information about
           them...............................................
                                              Name of entity:                                                   % of ownership:
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific
           information about
           them...............................................
                                              Issuer name:
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans
           No
           Yes. List each
           account separately.             Type of account:         Institution name:
                                           IRA:                     Shell FCU
                                                                    Roth IRA #xxxx642                                              $183.79
                                           IRA:                     Putnam Investments
                                                                    xxxxxx7041                                                    $5,265.65
                                           IRA:                     Morgan Stanley #xxxxxxxx0100                                  $1,826.07
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

           No
           Yes..............................                     Institution name or individual:
                          Electric:                              Reliant                                                           $400.00
                          Water:                                 League City                                                        $85.00
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............................. Issuer name and description:




Official Form 106A/B                                                       Schedule A/B: Property                                     page 4
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Debtor 1        Ricky Ford Friery                                                                Case number (if known)

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes.............................. Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit
           No
           Yes. Give specific     30% interest in The Friery Family                                                                                 Unknown
           information about them Umbrella Trust An Irrevocable Trust

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No
           Yes. Give specific
           information about them

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
           No
           Yes. Give specific
           information about them

Money or property owed to you?                                                                                                          Current value of the
                                                                                                                                        portion you own?
                                                                                                                                        Do not deduct secured
                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you

           No
           Yes. Give specific information                                                                                    Federal:
           about them, including whether
           you already filed the returns                                                                                     State:
           and the tax years.....................................
                                                                                                                             Local:

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
           No
           Yes. Give specific information                                                                       Alimony:

                                                                                                                Maintenance:

                                                                                                                Support:

                                                                                                                Divorce settlement:

                                                                                                                Property settlement:

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else
           No
           Yes. Give specific information Bendco, Inc., Chapter 11 Debtor,                                                                        $450,000.00
                                                      Case #18-30849, US Bankruptcy Court,
                                                      Southern District of TX, Houston Div.
31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
           No
           Yes. Name the insurance
           company of each policy
           and list its value................     Company name:                               Beneficiary:                        Surrender or refund value:


Official Form 106A/B                                                 Schedule A/B: Property                                                             page 5
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Debtor 1         Ricky Ford Friery                                                                                   Case number (if known)

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died
            No
            Yes. Give specific information Interest in Estate of James A. Friery, Sr.,                                                                                     Unknown
                                                       Deceased, Cause #PR-0078531,
                                                       Probate Court, Galveston Co., TX
33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
            No
            Yes. Describe each claim..............

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims
            No
            Yes. Describe each claim..............

35. Any financial assets you did not already list

            No
            Yes. Give specific information

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here.......................................................................................................................   $458,167.57


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

            No. Go to Part 6.
            Yes. Go to line 38.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
38. Accounts receivable or commissions you already earned

            No
            Yes. Describe................

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices
            No
            Yes. Describe................

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

            No
            Yes. Describe................

41. Inventory

            No
            Yes. Describe................

42. Interests in partnerships or joint ventures

            No
            Yes. Describe................
                                Name of entity:                                                                                       % of ownership:




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 6
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Debtor 1          Ricky Ford Friery                                                                                  Case number (if known)

43. Customer lists, mailing lists, or other compilations

            No
            Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                    No
                    Yes. Describe..............

44. Any business-related property you did not already list

            No
            Yes. Give specific information.

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here.......................................................................................................................          $0.00


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

            No. Go to Part 7.
            Yes. Go to line 47.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
            No
            Yes............................

48. Crops--either growing or harvested

            No
            Yes. Give specific
            information..........................

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

            No
            Yes..............................

50. Farm and fishing supplies, chemicals, and feed

            No
            Yes..............................

51. Any farm- and commercial fishing-related property you did not already list

            No
            Yes. Give specific
            information..........................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here.......................................................................................................................          $0.00


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

            No
            Yes. Give specific information.


Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 7
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Debtor 1           Ricky Ford Friery                                                                                          Case number (if known)



54. Add the dollar value of all of your entries from Part 7. Write that number here.................................................                                                          $0.00


  Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2..............................................................................................................................................   $325,000.00

56. Part 2: Total vehicles, line 5                                                                                  $65,000.00

57. Part 3: Total personal and household items, line 15                                                               $5,820.00

58. Part 4: Total financial assets, line 36                                                                       $458,167.57

59. Part 5: Total business-related property, line 45                                                                         $0.00

60. Part 6: Total farm- and fishing-related property, line 52                                                                $0.00

61. Part 7: Total other property not listed, line 54                                               +                         $0.00

                                                                                                                                            Copy personal
62. Total personal property.                   Add lines 56 through 61.................................           $528,987.57               property total                 +          $528,987.57


63. Total of all property on Schedule A/B.                                                                                                                                                  $853,987.57
                                                                    Add line 55 + line 62.......................................................................................................




Official Form 106A/B                                                                  Schedule A/B: Property                                                                                   page 8
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 Fill in this information to identify your case:
 Debtor 1             Ricky               Ford                   Friery
                      First Name          Middle Name            Last Name
 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS
                                                                                                                     Check if this is an
 Case number                                                                                                         amended filing
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:        Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?             Check one only, even if your spouse is filing with you.
          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on           Current value of     Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property                   the portion you      exemption you claim
                                                        own
                                                        Copy the value from Check only one box for
                                                        Schedule A/B        each exemption


Brief description:                                        $325,000.00                 $71,000.00          Const. art. 16 §§ 50, 51, Texas
2407 Intrepid Way                                                                 100% of fair market     Prop. Code §§ 41.001-.002
ABST 18 PAGE 2 LOT 7                                                              value, up to any
LEEWARD LANDING SEC 1                                                             applicable statutory
Line from Schedule A/B: 1.1                                                       limit

Brief description:                                         $60,000.00                     $0.00           Tex. Prop. Code §§ 42.001(a),
2017 GMC Yukon (approx. 4000 miles)                                               100% of fair market     42.002(a)(9)
2017 GMC Yukon                                                                    value, up to any
Line from Schedule A/B: 3.1                                                       applicable statutory
                                                                                  limit




3.   Are you claiming a homestead exemption of more than $160,375?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
              No
              Yes

Official Form 106C                               Schedule C: The Property You Claim as Exempt                                               page 1
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Debtor 1      Ricky Ford Friery                                                      Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                      $5,000.00                $5,000.00          Tex. Prop. Code §§ 42.001(a),
2010 Ford F150 (approx. 110000 miles)                                        100% of fair market    42.002(a)(9)
                                                                             value, up to any
Line from Schedule A/B:    3.2
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $2,550.00                $2,550.00          Tex. Prop. Code §§ 42.001(a),
Household goods & furnishings                                                100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $320.00                  $320.00           Tex. Prop. Code §§ 42.001(a),
2 TV's $200                                                                  100% of fair market    42.002(a)(1)
Computer $100                                                                value, up to any
Printer $20                                                                  applicable statutory
Line from Schedule A/B:     7                                                limit

Brief description:                                       $50.00                    $50.00           Tex. Prop. Code §§ 42.001(a),
Misc. pictures                                                               100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     8
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $2,000.00                $2,000.00          Tex. Prop. Code §§ 42.001(a),
Treadmill $1500                                                              100% of fair market    42.002(a)(8)
Tools $500                                                                   value, up to any
Line from Schedule A/B:     9                                                applicable statutory
                                                                             limit

Brief description:                                       $150.00                  $150.00           Tex. Prop. Code §§ 42.001(a),
Men's clothing                                                               100% of fair market    42.002(a)(5)
                                                                             value, up to any
Line from Schedule A/B:    11
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $300.00                  $300.00           Tex. Prop. Code §§ 42.001(a),
Wedding ring                                                                 100% of fair market    42.002(a)(6)
                                                                             value, up to any
Line from Schedule A/B:    12
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $450.00                  $450.00           Tex. Prop. Code §§ 42.001(a),
2 Dogs                                                                       100% of fair market    42.002(a)(11)
1 Cat                                                                        value, up to any
1 Turtle                                                                     applicable statutory
Line from Schedule A/B:    13                                                limit

Brief description:                                       $183.79                  $183.79           Tex. Prop. Code § 42.0021
Shell FCU                                                                    100% of fair market
Roth IRA #xxxx642                                                            value, up to any
Line from Schedule A/B:    21                                                applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 2
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Debtor 1      Ricky Ford Friery                                                      Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                      $5,265.65                $5,265.65          Tex. Prop. Code § 42.0021
Putnam Investments                                                           100% of fair market
xxxxxx7041                                                                   value, up to any
Line from Schedule A/B:    21                                                applicable statutory
                                                                             limit

Brief description:                                      $1,826.07                $1,826.07          Tex. Prop. Code § 42.0021
Morgan Stanley #xxxxxxxx0100                                                 100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    21
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 3
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  Fill in this information to identify your case:
  Debtor 1             Ricky                 Ford                   Friery
                       First Name            Middle Name            Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

  Case number
                                                                                                                       Check if this is an
  (if known)
                                                                                                                       amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below.


  Part 1:         List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one             Column A               Column B               Column C
        creditor has a particular claim, list the other creditors in Part 2. As          Amount of claim        Value of collateral    Unsecured
        much as possible, list the claims in alphabetical order according to the         Do not deduct the      that supports this     portion
        creditor's name.                                                                 value of collateral    claim                  If any

  2.1                                            Describe the property that
                                                 secures the claim:                            $60,000.00              $60,000.00
GM Financial
Creditor's name
                                                 2017 GMC Yukon
PO Box 182673
Number       Street


                                                 As of the date you file, the claim is: Check all that apply.
                                                     Contingent
Arlington                TX      76096               Unliquidated
City                     State   ZIP Code
                                                     Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Secured by Title to Vehicle
   to a community debt
Date debt was incurred                           Last 4 digits of account number




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                              $60,000.00

Official Form 106D                          Schedule D: Creditors Who Have Claims Secured by Property                                         page 1
                    Case 18-33497 Document 1 Filed in TXSB on 06/28/18 Page 21 of 48


Debtor 1      Ricky Ford Friery                                                           Case number (if known)

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.2                                         Describe the property that
                                              secures the claim:                           $245,000.00             $325,000.00
Mr. Cooper                                    2407 Intrepid Way League
Creditor's name
8950 Cypress Waters Blvd.                     City TX
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Dallas                  TX      75019             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Deed of Trust
   to a community debt
Date debt was incurred                        Last 4 digits of account number        6     2    1    1

  2.3                                         Describe the property that
                                              secures the claim:                               $9,000.00           $325,000.00
Resolution Finance, LLC
Creditor's name
                                              2407 Intrepid Way League
13512 Midway Rd., Ste. 394                    City, TX
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Dallas                  TX      75244             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Tax Lien Contract
   to a community debt
Date debt was incurred          May 2017      Last 4 digits of account number




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                          $254,000.00

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                         $314,000.00

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 2
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  Fill in this information to identify your case:
  Debtor 1             Ricky                 Ford                   Friery
                       First Name            Middle Name            Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

  Case number
                                                                                                                        Check if this is an
  (if known)
                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


  Part 1:        List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?
            No. Go to Part 2.
            Yes.

2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
       claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
       show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
       more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
       claim, list the other creditors in Part 3.

       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                        amount                amount

     2.1                                                                                               $23,000.00         $23,000.00                 $0.00
Internal Revenue Service
Priority Creditor's Name                                   Last 4 digits of account number
P.O. Box 7346                                              When was the debt incurred?
Number       Street
                                                           As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
Philadelphia                    PA      19101-7346             Disputed
City                            State   ZIP Code
Who incurred the debt? Check one.                          Type of PRIORITY unsecured claim:
     Debtor 1 only                                            Domestic support obligations
     Debtor 2 only                                            Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                               Claims for death or personal injury while you were
     At least one of the debtors and another                  intoxicated
     Check if this claim is for a community debt              Other. Specify
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 1
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Debtor 1       Ricky Ford Friery                                                                Case number (if known)

  Part 2:        List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
            Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                          Unknown
Ascentium Capital LLC                                       Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
23970 Highway 59 N
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Kingwood                        TX      77339-1535
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Guaranty
Is the claim subject to offset?
     No
     Yes

     4.2                                                                                                                                          $7,017.00
Bank of America                                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
PO Box 15019
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Wilmington                      DE      19850-5019
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 2
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Debtor 1       Ricky Ford Friery                                                           Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

   4.3                                                                                                                          $2,419,217.86
Bank of America, N.A.                                    Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
800 Market St.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
St. Louis                     MO      63101-2510
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Guaranty
Is the claim subject to offset?
     No
     Yes

   4.4                                                                                                                              $2,045.00
Barclaycard                                              Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 60517
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
City of Industry              CA      91716-0517
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

   4.5                                                                                                                              Unknown
CAN Capital Asset Servicing, Inc.                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Fora Financial
Number        Street                                     As of the date you file, the claim is: Check all that apply.
242 W. 36th St.                                              Contingent
                                                             Unliquidated
                                                             Disputed
New York                      NY      10018
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Guaranty
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                      page 3
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Debtor 1       Ricky Ford Friery                                                           Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

   4.6                                                                                                                             $1,460.00
Citi Cards                                               Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 78045
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Phoenix                       AZ      85062-8045
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

   4.7                                                                                                                             Unknown
Connie J. Smith                                          Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
3402 Druid Cr.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Montgomery                    TX      77356
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt
Is the claim subject to offset?
     No
     Yes

   4.8                                                                                                                             $4,416.00
Discover                                                 Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 790213
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
St. Louis                     MO      63179-0213
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                     page 4
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Debtor 1       Ricky Ford Friery                                                           Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

   4.9                                                                                                                               $396.00
Discover                                                 Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 790213
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
St. Louis                     MO      63179-0213
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.10                                                                                                                             Unknown
James Anthony Friery, Jr.                                Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
2002 Redwood
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Kemah                         TX      77565
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt
Is the claim subject to offset?
     No
     Yes

  4.11                                                                                                                             Unknown
Joni F. Keith                                            Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
2418 Colonial Springs Ln.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Spring                        TX      77386-2932
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                     page 5
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Debtor 1       Ricky Ford Friery                                                           Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.12                                                                                                                          $100,000.00
Knight Capital Funding II, LLC                           Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
9 East Lockerman St #3A-543
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dover                         DE      19901
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Guaranty
Is the claim subject to offset?
     No
     Yes

  4.13                                                                                                                             $1,899.00
Kohl's Payment Center                                    Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 2983
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Milwaukee                     WI      53201-2983
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.14                                                                                                                               $941.00
Macy's Card                                              Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 8113
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Mason                         OH      45040
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                     page 6
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Debtor 1       Ricky Ford Friery                                                           Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.15                                                                                                                             $2,218.00
Maurices Capital One                                     Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 60504
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
City of Industry              CA      91716-0504
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.16                                                                                                                               $705.00
Merrick Bank                                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 9201
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Old Bethpage                  NY      11804-9001
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.17                                                                                                                             $1,535.00
Pier 1 Imports                                           Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 659450
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
San Antonio                   TX      78265-9450
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                     page 7
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Debtor 1       Ricky Ford Friery                                                           Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.18                                                                                                                             Unknown
Randy L. Friery                                          Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1718 Wynforest Dr.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Deer Park                     TX      77536
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt
Is the claim subject to offset?
     No
     Yes

  4.19                                                                                                                             Unknown
Rodney Friery                                            Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
4001 Woody Guthrie Ct.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Deer Park                     TX      77536
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt
Is the claim subject to offset?
     No
     Yes

  4.20                                                                                                                             $9,700.00
Shell FCU                                                Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 672051
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75267
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                     page 8
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Debtor 1       Ricky Ford Friery                                                           Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.21                                                                                                                             Unknown
Susquehanna Commercial Finance                           Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
2 Country View Rd., Ste. 300
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Malvern                       PA      19355
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Guaranty
Is the claim subject to offset?
     No
     Yes

  4.22                                                                                                                             $2,533.00
Synchrony Bank/Amazon                                    Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 960013
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Orlando                       FL      32896-0013
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.23                                                                                                                               $689.00
Synchrony Bank/JCP                                       Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 960090
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Orlando                       FL      32896-0090
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                     page 9
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Debtor 1       Ricky Ford Friery                                                           Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.24                                                                                                                               $289.00
Target                                                   Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 673
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Minneapolis                   MN      55440
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.25                                                                                                                             Unknown
TCF Equipment Finance                                    Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 77077
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Minneapolis                   MN      55480-7777
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Guaranty
Is the claim subject to offset?
     No
     Yes

  4.26                                                                                                                           $20,117.37
Texas Bay Area Credit Union                              Last 4 digits of account number       4    8    2    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 2711
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Omaha                         NE      68103-2700
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Loan
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                    page 10
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Debtor 1       Ricky Ford Friery                                                           Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.27                                                                                                                             $4,422.00
Texas Bay Area Credit Union                              Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 2711
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Omaha                         NE      68103-2711
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.28                                                                                                                               $794.00
Ulta                                                     Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 659450
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
San Antonio                   TX      78265-9450
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.29                                                                                                                             $4,958.00
USAA (Amex)                                              Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
10750 McDermott Fwy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
San Antonio                   TX      78288-0509
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                    page 11
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Debtor 1       Ricky Ford Friery                                                           Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.30                                                                                                                             $4,988.00
USAA Visa                                                Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
10750 McDermott Fwy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
San Antonio                   TX      78288-0570
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.31                                                                                                                             $2,679.00
Victoria's Secret                                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 659728
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
San Antonio                   TX      78265-9728
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                    page 12
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Debtor 1       Ricky Ford Friery                                                          Case number (if known)

  Part 3:        List Others to Be Notified About a Debt That You Already Listed

5.     Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2.
       For example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original
       creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have more than one creditor for any of the
       debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional parties to be notified for
       any debts in Parts 1 or 2, do not fill out or submit this page.


Alan Padfield                                               On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Padfield & Stout, LLP                                       Line   4.21 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
421 W. Third St., Ste. 910                                                                      Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Fort Worth                      TX      76102
City                            State   ZIP Code


Amanda L. Barton, Esq.                                      On which entry in Part 1 or Part 2 did you list the original creditor?
Name
1691 Michigan Ave.                                          Line   4.12 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
Suite 230                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Miami Beach                     FL      33139
City                            State   ZIP Code


Blalack & Williams, PC                                      On which entry in Part 1 or Part 2 did you list the original creditor?
Name
4851 LBJ Fwy, Ste. 750                                      Line   4.26 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Dallas                          TX      75244
City                            State   ZIP Code


Brian C. Engelhardt, Esq.                                   On which entry in Part 1 or Part 2 did you list the original creditor?
Name
2 County View Rd, #300                                      Line   4.21 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Malvern                         PA      19355
City                            State   ZIP Code


John K. Dubiel, Jr.                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Bristol & Dubiel LLP                                        Line   4.12 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
10440 N Central Expy                                                                            Part 2: Creditors with Nonpriority Unsecured Claims

Suite 800
                                                            Last 4 digits of account number
Dallas                          TX      75231
City                            State   ZIP Code




Official Form 106E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                             page 13
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Debtor 1     Ricky Ford Friery                                                    Case number (if known)

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

K. Mark Vincent                                     On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Vincent Serafino Geary et al                        Line   4.3 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number      Street
1601 Elm St., Ste. 4100                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
Dallas                     TX      75201-3073
City                       State   ZIP Code


Matthew T. Wright                                   On which entry in Part 1 or Part 2 did you list the original creditor?
Name
12620 FM 1960 Rd. West                              Line   4.1 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number      Street
Suite A-4, Box 304                                                                     Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
Houston                    TX      77065
City                       State   ZIP Code


Teri H. Kelley                                      On which entry in Part 1 or Part 2 did you list the original creditor?
Name
6750 West Loop S., Ste. 920                         Line   4.25 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
Bellaire                   TX      77401
City                       State   ZIP Code


Vital Recovery Services                             On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 923747                                       Line   4.5 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                    Last 4 digits of account number
Peachtree Corners          GA      30010-3748
City                       State   ZIP Code




Official Form 106E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                         page 14
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Debtor 1       Ricky Ford Friery                                                        Case number (if known)

 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                                Total claim

Total claims       6a. Domestic support obligations                                                   6a.                     $0.00
from Part 1
                   6b. Taxes and certain other debts you owe the government                           6b.             $23,000.00

                   6c. Claims for death or personal injury while you were intoxicated                 6c.                     $0.00

                   6d. Other. Add all other priority unsecured claims. Write that amount here.        6d.   +                 $0.00


                   6e. Total.     Add lines 6a through 6d.                                            6d.             $23,000.00




                                                                                                                Total claim

Total claims       6f.   Student loans                                                                6f.                     $0.00
from Part 2
                   6g. Obligations arising out of a separation agreement or divorce                   6g.                     $0.00
                       that you did not report as priority claims

                   6h. Debts to pension or profit-sharing plans, and other similar                    6h.                     $0.00
                       debts

                   6i.   Other. Add all other nonpriority unsecured claims. Write that amount here.   6i.   +      $2,593,019.23


                   6j.   Total.   Add lines 6f through 6i.                                            6j.          $2,593,019.23




Official Form 106E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                      page 15
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 Fill in this information to identify your case:
 Debtor 1            Ricky                Ford                   Friery
                     First Name           Middle Name            Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name


 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                    Check if this is an
 (if known)
                                                                                                                    amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


1.   Do you have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2.   List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
     is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
     executory contracts and unexpired leases.

        Person or company with whom you have the contract or lease                   State what the contract or lease is for




Official Form 106G                          Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
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 Fill in this information to identify your case:
 Debtor 1              Ricky                  Ford                        Friery
                       First Name             Middle Name                 Last Name

 Debtor 2
 (Spouse, if filing) First Name               Middle Name                 Last Name


 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                            Check if this is an
 (if known)
                                                                                                                            amended filing



Official Form 106H
Schedule H: Your Codebtors                                                                                                                         12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


1.    Do you have any codebtors?          (If you are filing a joint case, do not list either spouse as a codebtor.)
          No
          Yes

2.    Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
      include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
               No
               Yes
                In which community state or territory did you live?                   Texas     Fill in the name and current address of that person.

                Leigh Adrienne Friery
                Name of your spouse, former spouse, or legal equivalent
                2407 Intrepid Way
                Number          Street


                League City                                     TX              77573
                City                                            State           ZIP Code

3.    In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
      person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
      creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
      Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

         Column 1: Your codebtor                                                                 Column 2: The creditor to whom you owe the debt

                                                                                                 Check all schedules that apply:

3.1      801 Houston Ave Property LLC
         Name                                                                                          Schedule D, line
         801 Houston Ave.                                                                              Schedule E/F, line        4.3
         Number        Street
                                                                                                       Schedule G, line

         Pasadena                                       TX                77502                  Bank of America, N.A.
         City                                           State             ZIP Code




Official Form 106H                                               Schedule H: Your Codebtors                                                            page 1
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Debtor 1      Ricky Ford Friery                                          Case number (if known)

               Additional Page to List More Codebtors

       Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                             Check all schedules that apply:

3.2    Bendco, Inc.
       Name                                                                      Schedule D, line
       801 Houston Ave.                                                          Schedule E/F, line
       Number        Street
                                                                                                         4.3
                                                                                 Schedule G, line

       Pasadena                         TX          77502                    Bank of America, N.A.
       City                             State       ZIP Code


3.3    Bendco, Inc.
       Name                                                                      Schedule D, line
       801 Houston Ave.                                                          Schedule E/F, line     4.12
       Number        Street
                                                                                 Schedule G, line

       Pasadena                         TX          77502                    Knight Capital Funding II, LLC
       City                             State       ZIP Code


3.4    Bendco, Inc.
       Name                                                                      Schedule D, line
       801 Houston Ave.                                                          Schedule E/F, line
       Number        Street
                                                                                                        4.21
                                                                                 Schedule G, line

       Pasadena                         TX          77502                    Susquehanna Commercial Finance
       City                             State       ZIP Code


3.5    Bendco, Inc.
       Name                                                                      Schedule D, line
       801 Houston Ave.                                                          Schedule E/F, line
       Number        Street
                                                                                                        4.25
                                                                                 Schedule G, line

       Pasadena                         TX          77502                    TCF Equipment Finance
       City                             State       ZIP Code


3.6    Bendco, Inc.
       Name                                                                      Schedule D, line
       801 Houston Ave.                                                          Schedule E/F, line
       Number        Street
                                                                                                         4.1
                                                                                 Schedule G, line

       Pasadena                         TX          77502                    Ascentium Capital LLC
       City                             State       ZIP Code


3.7    Bendco, Inc.
       Name                                                                      Schedule D, line
       801 Houson Ave.                                                           Schedule E/F, line      4.5
       Number        Street
                                                                                 Schedule G, line

       Pasadena                         TX          77502                    CAN Capital Asset Servicing, Inc.
       City                             State       ZIP Code




Official Form 106H                              Schedule H: Your Codebtors                                              page 2
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Debtor 1      Ricky Ford Friery                                          Case number (if known)

               Additional Page to List More Codebtors

       Column 1: Your codebtor                                               Column 2: The creditor to whom you owe the debt

                                                                             Check all schedules that apply:

3.8    James A. Friery Deceased
       Name                                                                      Schedule D, line
       c/o Ricky F. Friery                                                       Schedule E/F, line
       Number        Street
                                                                                                         4.3
       2407 Intrepid Way                                                         Schedule G, line

       League City                      TX          77573                    Bank of America, N.A.
       City                             State       ZIP Code


3.9    Friery, Leigh Adrienne
       Name                                                                      Schedule D, line
       2407 Intrepid Way                                                         Schedule E/F, line      2.1
       Number        Street
                                                                                 Schedule G, line

       League City                      TX          77573                    Internal Revenue Service
       City                             State       ZIP Code


3.10   Friery, Leigh Adrienne
       Name                                                                      Schedule D, line      2.2
       2407 Intrepid Way                                                         Schedule E/F, line
       Number        Street
                                                                                 Schedule G, line

       League City                      TX          77573                    Mr. Cooper
       City                             State       ZIP Code


3.11   Friery, Leigh Adrienne
       Name                                                                      Schedule D, line      2.3
       2407 Intrepid Way                                                         Schedule E/F, line
       Number        Street
                                                                                 Schedule G, line

       League City                      TX          77573                    Resolution Finance, LLC
       City                             State       ZIP Code




Official Form 106H                              Schedule H: Your Codebtors                                              page 3
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 Fill in this information to identify your case:
     Debtor 1              Ricky                Ford                   Friery
                           First Name           Middle Name            Last Name                           Check if this is:
     Debtor 2                                                                                                   An amended filing
     (Spouse, if filing)   First Name           Middle Name            Last Name
                                                                                                                A supplement showing postpetition
     United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF TEXAS
                                                                                                                chapter 13 income as of the following date:
     Case number
     (if known)
                                                                                                                MM / DD / YYYY
Official Form 106I
Schedule I: Your Income                                                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                             Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status             Employed                                           Employed
      with information about                                          Not employed                                       Not employed
      additional employers.
                                        Occupation             CEO                                                Physical therapist
      Include part-time, seasonal,
      or self-employed work.            Employer's name        Bendco, Inc.                                       Good 4 You Physical Therapy

      Occupation may include            Employer's address     801 Houston Ave.                                   4123 Maple Rapids Ln.
      student or homemaker, if it                              Number Street                                      Number Street
      applies.




                                                               Pasadena                     TX       77502        Spring                 TX      77386
                                                               City                         State    Zip Code     City                   State   Zip Code

                                        How long employed there?        33 yrs.                                           3 yrs.

 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                            For Debtor 1            For Debtor 2 or
                                                                                                                    non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                  $5,832.67             $4,109.00
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.
3.    Estimate and list monthly overtime pay.                                      3.   +               $0.00                  $0.00

4.    Calculate gross income. Add line 2 + line 3.                                 4.               $5,832.67             $4,109.00




Official Form 106I                                            Schedule I: Your Income                                                                page 1
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Debtor 1        Ricky Ford Friery                                                                                                Case number (if known)
                                                                                                                    For Debtor 1             For Debtor 2 or
                                                                                                                                             non-filing spouse
     Copy line 4 here ...................................................................................................................
                                                                                                                 4.              $5,832.67       $4,109.00
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                      5a.                  $0.00             $492.35
     5b. Mandatory contributions for retirement plans                                                       5b.                  $0.00               $0.00
     5c. Voluntary contributions for retirement plans                                                       5c.                  $0.00               $0.00
     5d. Required repayments of retirement fund loans                                                       5d.                  $0.00               $0.00
     5e. Insurance                                                                                          5e.                  $0.00               $0.00
     5f. Domestic support obligations                                                                       5f.                  $0.00               $0.00
     5g. Union dues                                                                                         5g.                  $0.00               $0.00
     5h. Other deductions.
          Specify:                                                                                          5h. +                $0.00                $0.00
6.   Add the payroll deductions.                 Add lines 5a + 5b + 5c + 5d + 5e + 5f +                    6.                   $0.00             $492.35
     5g + 5h.
7.   Calculate total monthly take-home pay.                         Subtract line 6 from line 4.            7.            $5,832.67              $3,616.65
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                               8a.                  $0.00                $0.00
          business, profession, or farm
           Attach a statement for each property and business showing
           gross receipts, ordinary and necessary business expenses, and
           the total monthly net income.
     8b. Interest and dividends                                                                             8b.                  $0.00                $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                        8c.                  $0.00                $0.00
         dependent regularly receive
           Include alimony, spousal support, child support, maintenance,
           divorce settlement, and property settlement.
     8d. Unemployment compensation                                                                          8d.                  $0.00                $0.00
     8e. Social Security                                                                                    8e.                  $0.00                $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                           8f.                  $0.00                $0.00
     8g. Pension or retirement income                                                                       8g.                  $0.00                $0.00
     8h. Other monthly income.
         Specify:                                                                                           8h. +                $0.00                $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                 9.                   $0.00                $0.00

10. Calculate monthly income. Add line 7 + line 9.                             10.     $5,832.67 +         $3,616.65 =                                                   $9,449.32
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                             11.    +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                             12.            $9,449.32
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                                   Combined
                                                                                                                                                                     monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           Debtor anticipates increase in income.
           Yes. Explain:




Official Form 106I                                                               Schedule I: Your Income                                                                      page 2
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 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              Ricky                  Ford                   Friery                              An amended filing
                           First Name             Middle Name            Last Name                           A supplement showing postpetition
                                                                                                             chapter 13 expenses as of the
     Debtor 2
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    SOUTHERN DISTRICT OF TEXAS                                     MM / DD / YYYY
     Case number
     (if known)

Official Form 106J
Schedule J: Your Expenses                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                            No
                                                                                  Daughter
                                                                                                                                           Yes
      Do not state the dependents'
                                                                                                                                           No
      names.
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
3.    Do your expenses include                        No
      expenses of people other than                   Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.                    $2,189.36
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.

      4b. Property, homeowner's, or renter's insurance                                                               4b.

      4c. Home maintenance, repair, and upkeep expenses                                                              4c.

      4d. Homeowner's association or condominium dues                                                                4d.                     $83.33




 Official Form 106J                                             Schedule J: Your Expenses                                                        page 1
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Debtor 1      Ricky Ford Friery                                                        Case number (if known)

                                                                                                          Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                     5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                             6a.                   $300.00
     6b. Water, sewer, garbage collection                                                           6b.                    $60.00
     6c. Telephone, cell phone, Internet, satellite, and                                            6c.                   $300.00
         cable services
     6d. Other. Specify:                                                                            6d.

7.   Food and housekeeping supplies                                                                 7.                    $600.00
8.   Childcare and children's education costs                                                       8.

9.   Clothing, laundry, and dry cleaning                                                            9.                     $50.00
10. Personal care products and services                                                             10.                    $30.00
11. Medical and dental expenses                                                                     11.                   $300.00
12. Transportation. Include gas, maintenance, bus or train                                          12.                   $350.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                   13.                    $25.00
    magazines, and books
14. Charitable contributions and religious donations                                                14.                    $50.00
15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.   Life insurance                                                                          15a.

     15b.   Health insurance                                                                        15b.                  $105.00
     15c.   Vehicle insurance                                                                       15c.                  $300.00
     15d.   Other insurance. Specify:                                                               15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify: Property tax loan                                                                      16.                   $300.00
17. Installment or lease payments:

     17a.   Car payments for Vehicle 1    GMC Yukon                                                 17a.                  $994.14
     17b.   Car payments for Vehicle 2                                                              17b.

     17c.   Other. Specify:                                                                         17c.

     17d.   Other. Specify:                                                                         17d.

18. Your payments of alimony, maintenance, and support that you did not report as                   18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                        19.                   $200.00




 Official Form 106J                                        Schedule J: Your Expenses                                         page 2
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Debtor 1      Ricky Ford Friery                                                                Case number (if known)

20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
    20a.    Mortgages on other property                                                                      20a.

    20b.    Real estate taxes                                                                                20b.

    20c.    Property, homeowner's, or renter's insurance                                                     20c.

    20d.    Maintenance, repair, and upkeep expenses                                                         20d.

    20e.    Homeowner's association or condominium dues                                                      20e.

21. Other. Specify:                                                                                          21.    +
22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                          22a.       $6,236.83
    22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                 22b.

    22c.    Add line 22a and 22b. The result is your monthly expenses.                                       22c.       $6,236.83

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.       $9,449.32
    23b.    Copy your monthly expenses from line 22c above.                                                  23b.   –   $6,236.83
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.       $3,212.49

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                Debtor anticipates increase in expenses due to higher medical insurance costs




 Official Form 106J                                         Schedule J: Your Expenses                                       page 3
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 Fill in this information to identify your case:
 Debtor 1                Ricky                         Ford                          Friery
                         First Name                    Middle Name                   Last Name

 Debtor 2
 (Spouse, if filing) First Name                        Middle Name                   Last Name


 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                                                          Check if this is an
 (if known)
                                                                                                                                                          amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                                            $325,000.00
     1a. Copy line 55, Total real estate, from Schedule A/B.....................................................................................................................


                                                                                                                                                                       $528,987.57
     1b. Copy line 62, Total personal property, from Schedule A/B......................................................................................................................................................


                                                                                                                                                                            $853,987.57
     1c. Copy line 63, Total of all property on Schedule A/B................................................................................................................................................................


 Part 2:          Summarize Your Liabilities

                                                                                                                                                                        Your liabilities
                                                                                                                                                                        Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                          $314,000.00
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.........................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                        $23,000.00
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................................................................


                                                                                                                                    +           $2,593,019.23
     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F........................................................



                                                                                                                                   Your total liabilities                      $2,930,019.23




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                         $9,449.32
     Copy your combined monthly income from line 12 of Schedule I....................................................................................................................................................

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J.........................................................................................................                  $6,236.83




Official Form 106Sum                        Summary of Your Assets and Liabilities and Certain Statistical Information                                                                        page 1
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Debtor 1      Ricky Ford Friery                                                            Case number (if known)


 Part 4:        Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes

7.   What kind of debt do you have?

           Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                        Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

     9d. Student loans. (Copy line 6f.)

     9e. Obligations arising out of a separation agreement or divorce that you did not report as
         priority claims. (Copy line 6g.)

     9f.   Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)       +

     9g. Total.    Add lines 9a through 9f.




Official Form 106Sum               Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2
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 Fill in this information to identify your case:
 Debtor 1           Ricky               Ford                 Friery
                    First Name          Middle Name          Last Name

 Debtor 2
 (Spouse, if filing) First Name         Middle Name          Last Name


 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number
                                                                                                             Check if this is an
 (if known)
                                                                                                             amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                     12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

          No

          Yes. Name of person                                                                Attach Bankruptcy Petition Preparer's Notice,
                                                                                             Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct.



    X /s/ Ricky Ford Friery                                X
        Ricky Ford Friery, Debtor 1                            Signature of Debtor 2

        Date 06/28/2018                                        Date
             MM / DD / YYYY                                           MM / DD / YYYY




Official Form 106Dec                        Declaration About an Individual Debtor's Schedules                                         page 1
